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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                     STATESBORO DIVISION

WILLIE WILLIAMS,

      Movant,

v.                                         Case No. CV616-063
                                                     CR614-001
UNITED STATES OF AMERICA,

      Respondent.

                                  ORDER
      Let a copy of this Report and Recommendation be served upon counsel for
the parties. Any objections to this Report and Recommendation must be filed
with the Clerk of Court not later than July 4, 2016. The Clerk shall submit this
Report and Recommendation together with any objections to the Honorable J.
Randal Hall, United States District Judge, on July 5, 2016. Failure to file an
objection within the specified time means that this Report and Recommendation
may become the opinion and order of the Court, Nettles v. Wainwright, 677 F.2d
404 (5th Cir. 1982), and further waives the right to appeal the District Court's
Order. Thomas v. Arn, 474 U.S. 140 (1985).
      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the District
Judge to whom this case is assigned.
      SO ORDERED this 20th day of June, 2016.

                                                 UNITED STATES MAGISTRATE Th1]XE
                                                 SOLTMERN DISTRICT OF GEORGIA
